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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL 2179
“DEEPWATER HORIZON” IN THE

GULF OF MEXICO, ON APRIL 20, 2010 SECTION: “J”
This Document Applies to: JUDGE BARBIER

MAG. JUDGE SHUSHAN
Wo, 12-970, Bon Secour Fisheries, Inc., et al,
v. BP Exploration & Production Inc., et al.
ORDER

CONSIDERING The AndryLerner Interests’ Objections to, and Motion to Amend, the
Order Granting the Special Master Additional Powers;

IT IS HEREBY ORDERED that the Motion be and is hereby GRANTED.

IT IS FURTHER ORDERED that the Special Master’s authority to file a reply to any
response, objections, or motions filed with respect to his Report is struck from the Court’s
September 6 2013, Order [Rec. Doc. 11288] (the “September 6 Order”).

IT IS FURTHER ORDERED that the Special Master’s authority to initiate legal action
to “clawback” the payment of any fraudulent claims is struck from the September 6 Order.

IT IS FURTHER ORDERED that the Special Master’s authority to examine and
investigate any past or pending claims submitted to the CSSP which are deemed “suspicious” is
amended as follows:

(i) The Special Master shall define the criteria that give rise to a suspicious claim within
ten (10) calendar days of this Order;

(ii) The Special Master shall apply those criteria in a fair, objective manner and not to

single out claims filed by AndryLerner, LLC (“AndryLemer’) clients;
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(iii) Except for good cause shown, the Special Master shall conclude his review of any
suspicious claim within 30 days;

(iv) In the event that the Special Master deems any claim to be suspicious, the Special
Master shall submit a report, and the evidence supporting the report, to the Claims
Administration Office (“CAO”). The Special Master also shall provide a copy of the report to
counsel for the claimant, who shall be given an opportunity to be heard and to submit evidence to
rebut the report; and

(v) The CAO shall investigate any claim that the Special Master deems to be suspicious,
based on information provided by the Special Master and the claimant and any other information
deemed relevant. The CAO shall determine whether the claim is eligible for payment.

IT IS FURTHER ORDERED that the September 6 Order is amended to allow
AndryLerner to receive attorneys’ fees on claims paid that are sufficient to cover the firm’s
monthly operating expenses, AndryLerner shall submit an operating budget for the Court’s
approval within ten (10) calendar days of this Order. Pending further order from the Court,
AndryLerner shall not distribute any of the attorneys’ fees received on paid claims to Jon Andry
or Glenn Lerner. AndryLerner shall submit on a monthly basis a report showing its expenditures
during the prior month and a copy of bank statements and checks to ensure that no distributions
are made to Mr. Andry or Mr. Lerner from any paid claims.

New Orleans, Louisiana this day of November, 2013.

UNITED STATES DISTRICT JUDGE
